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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   QUENTIN JAMES STEVENS,

 9                              Plaintiff,                 Case No. C21-528 JCC

10          v.                                             ORDER GRANTING APPLICATION
                                                           TO PROCEED IN FORMA PAUPERIS
11   UNITED STATES GOVERNMENT, et al.,

12                              Defendants.

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14          Plaintiff Quentin James Stevens has filed an application to proceed in forma pauperis

15   (“IFP”) in the above-entitled action. (Dkt. # 1.) Plaintiff does not appear to have funds available

16   to afford the $402.00 filing fee. Accordingly, Plaintiff’s application to proceed in forma pauperis

17   (dkt. # 1) is GRANTED. However, the Court recommends the complaint be reviewed under 28

18   U.S.C. § 1915(e)(2)(B) before issuance of summons.

19          The Clerk is directed to send copies of this order to the parties and to the Honorable John

20   C. Coughenour.

21          Dated this 20th day of April, 2021.


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23                                                         MICHELLE L. PETERSON
                                                           United States Magistrate Judge
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25   ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
